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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
MACON DIVISION

 

U.S. SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

Vv. Civil Action No.
5:21-cv-00270-TES

EDWARD L. WOOTEN, LEE S. ROSE,
JOHN L, KRCIL, and BLACK LION
INVESTMENT PARTNERS, INC.,

Defendants.

 

 

FINAL JUDGMENT AS TO DEFENDANTS WOOTEN, ROSE, KRCIL
AND BLACK LION

The Clerk of the Court having entered a default against Defendants
Edward L. Wooten (“Defendant Wooten”), Lee S. Rose (“Defendant Rose”),
John L. Kreil (“Defendant Kreil’), and Black Lion Investment Partners, Inc.
(“Defendant Black Lion’) (collectively, “the Defendants”); the U.S. Securities
and Exchange Commission (Plaintiff or the “Commission”) having filed a
Motion for Default Judgment Against Defendants with supporting

Memorandum of Law; and for good cause shown:

 
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I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
Commission’s Motion for Default Judgment Against the Defendants is granted.
Il.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
Defendants and their agents, servants, employees, attorneys, and all persons in
active concert or participation with them who receive actual notice of this
Final Judgment by personal service or otherwise, are permanently restrained
and enjoined from violating, directly or indirectly, Section 10(b) of the
Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)]
and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any
means or instrumentality of interstate commerce, or of the mails, or of any
facility of any national securities exchange, in connection with the purchase
or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a material fact or to omit to
state a material fact necessary in order to make the statements made,
in the light of the circumstances under which they were made, not
misleading; or

(c) to engage in any act, practice, or course of business which
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operates or would operate as a fraud or deceit upon any person
by, directly or indirectly, (i) creating a false appearance or otherwise deceiving
any person, or (ii) disseminating false or misleading documents, materials, or
information or making, either orally or in writing, any false or misleading
statement in any communication with any investor or prospective investor,

about:

(A) any investment strategy or investment in securities,

(B) the prospects for success of any product or company,
(C) the use of investor funds,

(D) compensation to any person,

(E) the Defendants’ qualifications to advise investors; or

(F) the intended use of investor funds or investment

proceeds,

Il.
IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
Defendants and their agents, servants, employees, attorneys, and all persons in
active concert or participation with them who receive actual notice of this

Final Judgment by personal service or otherwise, are permanently restrained
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and enjoined from violating Section 17(a) of the Securities Act of 1933 (the
“Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by
the use of any means or instruments of transportation or communication in
interstate commerce or by use of the mails, directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement
of a material fact or any omission of a material fact necessary in order
to make the statements made, in light of the circumstances under
which they were made, not misleading; or
(c) to engage in any transaction, practice, or course of business
which operates or would operate as a fraud or deceit upon the
purchaser
by, directly or indirectly, (i) creating a false appearance or otherwise deceiving
any person, or (ii) disseminating false or misleading documents, materials, or
information or making, either orally or in writing, any false or misleading
statement in any communication with any investor or prospective investor,
about:

(A) any investment strategy or investment in securities,
(B) the prospects for success of any product or company,

(C) the use of investor funds,

 
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(D) compensation to any person,

(E) the Defendants’ qualifications to advise investors; or

(F) the intended use of investor funds or investment proceeds.

IV.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Defendants Wooten, Rose and Krcil shall each pay disgorgement, and
prejudgment interest thereon. The total amount of disgorgement and
prejudgment interest is $1,621,699.23 for Defendant Wooten, $927,280.08 for
Defendant Rose, and $234,754.44 for Defendant Kreil.

V.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Defendants Wooten, Rose and Krcil shall each pay a civil penalty of $192,768
pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)j and Section
21(d) of the Exchange Act [15 U.S.C. § 78u(d)(3)).

VI.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
Defendants Wooten, Rose and Krceil shall pay the disgorgement and
prejudgment interest amounts set forth for each of them in paragraph IV, above,

and the civil penalty amounts set forth for each of them in paragraph V, above,

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(a total of $1,814,467.23 for Defendant Wooten, $1,120,048.08 for Defendant
Rose, and $427,522.44 for Defendant Kreil) to the Commission within 60 days
after entry of this Final Judgment.

Defendants Wooten, Rose and Krcil may transmit payment electronically
to the Commission, which will provide detailed ACH transfer/Fedwire
instructions upon request. Payment may also be made directly from a bank
account via Pay.gov through the Commission’s website at

http://www.sec.gov/about/offices/ofm.htm. Payment may also be made by

 

certified check, bank cashier’s check, or United States postal money order
payable to the “U.S. Securities and Exchange Commission”, which shall be
delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action
number, name of this Court, and the respective Defendant’s name as a
Defendant in this action, and further specifying that payment is made pursuant
to this Final Judgment.

Defendants Wooten, Rose and Krcil shall simultaneously transmit

photocopies of evidence of payment and case identifying information to the

Commission’s counsel in this action. By making these payments, Defendants

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Wooten, Rose and Krcil relinquish all legal and equitable rights, titles, and
interests in such funds and no part of the funds shall be returned to them.

The Commission shall hold the funds (collectively, the “Fund”) and may
propose a plan to distribute the Fund subject to the Court’s approval. The Court
shail retain jurisdiction over the administration of any distribution of the Fund.
If the Commission staff determines that the Fund will not be distributed, the
Commission shall send the funds paid pursuant to this Final Judgment to the
United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement and
prejudgment interest, and civil penalties, by moving for civil contempt (and/or
through other collection procedures authorized by law) at any time after 60 days
following entry of this Final Judgment. Defendants Wooten, Rose and Kreil
shall each pay post judgment interest on any delinquent amounts pursuant to 28

U.S.C. § 1961.

VIL.
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this
Court shall retain jurisdiction of this matter for the purposes of enforcing the

terms of this Final Judgment.

VII.

 
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
there being no just reason for delay, pursuant to Rule 54(b)} of the Federal
Rules of Civil Procedure, the Clerk shall enter this Judgment forthwith and

without further notice.

  

Dated:

 

 
